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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

DROPCASES, LTD.,
                        Plaintiff,                  Case No. 24-cv-02589-JLR
                 v.                                 NOTICE OF VOLUNTARY
                                                    DISMISSAL PURSUANT TO RULE
THE PARTNERSHIPS AND                                41(a)(1)(A)(i)
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”

                        Defendants.                 Jury Trial Demanded

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dropcases Ltd. (“Plaintiff”), by and

through its undersigned counsel, hereby voluntarily dismisses this action WITHOUT PREJUDICE

as to the following Defendants:

                                                                                Amazon Seller
 No.       Amazon Seller ID           Defendant Name
                                                                                Alias
 13      A2K6R3ZVEBVWOQ               SZWSXLTDWE                                Vrasly
 36      A365FTAOJVAORC               Xiaojian Luo                              MOTONG
 37      AZ1OC23M6JIJ5                AIMI Electronic Technology Limited        LOKEKE
 39      A2JC8610RL18YJ               firexu                                    Ddtohan
 76      AO4F8CTERNFOO                lingshixianruyuxinxizixunfuwuzhongxin     MODESLAB
 95 & 96 ASUENOZ9LJGUI                shenzhen jurengu kejiyouxiangongsi        NZY
 123     A3MVDDLDEBN84Y               lingshixianruyuxinxizixunfuwuzhongxin     KEVWR

       Prior to the filing of this notice, Defendants have yet to file an answer or motion for

summary judgment.

Dated: New York, New York
       July 2, 2024

                                            Respectfully submitted,

                                            /s/ David A. Boag
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                                            BOAG LAW, PLLC
                                            447 Broadway, Suite 2-270
                                            New York, NY 10013
                                            dab@boagip.com


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                             FOSTER GARVEY, P.C.

                             By: /s/ Emily Borich
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                                 New York, New York 10005
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                             Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above document was

electronically filed on July 2, 2024 with the Clerk of the Court using the CM/ECF system, which

will automatically send an email notification of the filing to all registered attorneys of record.


                                               /s/ Emily Borich
                                               Emily Borich




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